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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          CV 23-1114-GW-KKx                                                  Date    November 6, 2023
 Title             Julie Barfuss, et al. v. Live Nation Entertainment, Inc., et al.




 Present: The Honorable           GEORGE H. WU, UNITED STATES DISTRICT JUDGE
                Javier Gonzalez                            Terri A. Hourigan
                 Deputy Clerk                         Court Reporter / Recorder                     Tape No.
                Attorneys Present for Plaintiffs:                      Attorneys Present for Defendants:
                        John M. Genga                                  Timothy L. O’Mara, by telephone
                      Jennifer A. Kinder                                  Meiran Yin, by telephone
                                                                        Joshua C. Stokes, by telephone
 PROCEEDINGS:                STATUS CONFERENCE


Court and counsel confer. For reasons stated on the record, the status conference is continued to
February 8, 2024 at 8:30 a.m. The parties are to file a joint status report by noon on February 5, 2024.




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                                                                 Initials of Preparer    JG
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